19-10971-dsj           Doc 14       Filed 04/02/19 Entered 04/02/19 17:06:06                      Main Document
                                                 Pg 1 of 41


Steven J. Reisman, Esq.                                         Peter A. Siddiqui (pro hac vice forthcoming)
Jerry L. Hall, Esq. (pro hac vice forthcoming)                  KATTEN MUCHIN ROSENMAN LLP
Cindi M. Giglio, Esq.                                           525 W. Monroe Street
KATTEN MUCHIN ROSENMAN LLP                                      Chicago, IL 60661
575 Madison Avenue                                              Telephone:      (312) 902-5455
New York, NY 10022                                              Facsimile:      (312) 902-1061
Telephone:       (212) 940-8800                                 peter.siddiqui@kattenlaw.com
Facsimile:       (212) 940-8876
sreisman@kattenlaw.com
jerry.hall@kattenlaw.com
cindi.giglio@kattenlaw.com

Proposed Counsel to the Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    SIZMEK INC., et al., 1                                      )        Case No. 19-10971 (SMB)
                                                                )
                                       Debtors.                 )        (Joint Administration Requested)
                                                                )

                                       DEBTORS’ MOTION
                               FOR THE ENTRY OF INTERIM AND
                       FINAL ORDERS (I) AUTHORIZING THE DEBTORS
                      TO USE CASH COLLATERAL PURSUANT TO 11 U.S.C.
               § 363; AND (II) GRANTING ADEQUATE PROTECTION PURSUANT
                   TO 11 U.S.C. §§ 361, 362, 363, AND 507, AND SCHEDULING A
                 FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(b)

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (the “Motion”): 2



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and
      X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of
      these chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
2     A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this Motion
      and the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Sascha Wittler Chief
      Financial Officer of Sizmek Inc., (I) in Support of Chapter 11 Petitions and (II) Pursuant to Local Rule 1007-2
      (the “First Day Declaration”), filed on April 2, 2019.



138472731_392525-00001
19-10971-dsj         Doc 14      Filed 04/02/19 Entered 04/02/19 17:06:06                     Main Document
                                              Pg 2 of 41



                                               Relief Requested

         1.       The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Interim Order”), 3 (a) authorizing the Debtors’ use of Cash Collateral on an interim

basis pending a final hearing on this Motion (the “Final Hearing”) to consider entry of a final order

(the “Final Order”), (b) granting adequate protection as set forth herein, (c) modifying the

automatic stay, and (d) scheduling the Final Hearing within approximately 25 days of the

commencement of these chapter 11 cases.

                                          Jurisdiction and Venue

         2.       The United States Bankruptcy Court for the Southern District of New York

(the “Bankruptcy Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

Southern District of New York, dated February 1, 2012. The Debtors confirm their consent,

pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

the entry of a final order by the Bankruptcy Court in connection with this Motion to the extent that

it is later determined that the Bankruptcy Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

         3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.       The bases for the relief requested herein are sections 105, 361, 362, 363, and 507

of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004, and 9014, and the Local Bankruptcy

Rules for the Southern District of New York (the “Local Rules”).




3   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Interim Order.


                                                       2
138472731_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06            Main Document
                                            Pg 3 of 41



                                             Background

I.       General Background.

         5.       Sizmek Inc., together with its Debtor and non-Debtor affiliates, is a leading online

advertising campaign management and distribution platform for advertisers, media agencies, and

publishers. The Debtors and their non-Debtor affiliates, which have approximately 1,114

employees worldwide, assist their clients with engaging a broad consumer audience in 19 countries

across multiple online media channels by facilitating the implementation of targeted, data-driven

advertising strategies that encompass all of the technology and intelligence necessary to execute

effective global advertisement campaigns. The Debtors are headquartered in New York, New

York, with operations and assets in the United States and abroad. As of the Petition Date (as

defined herein), the Debtors have approximately $172 million of funded indebtedness.

         6.       On March 29, 2019, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors continue to operate their businesses and manage

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. As of the date hereof, the Office of the United States Trustee for the Southern District of

New York (the “U.S. Trustee”) has not appointed an official committee of unsecured creditors in

these chapter 11 cases. Additional information regarding the Debtors’ business, their capital

structure, and the circumstances leading to these chapter 11 filings is contained in the First Day

Declaration.




                                                  3
138472731_392525-00001
19-10971-dsj           Doc 14       Filed 04/02/19 Entered 04/02/19 17:06:06                       Main Document
                                                 Pg 4 of 41



II.       Summary of the Debtors’ Prepetition Indebtedness. 4

          7.       As of the Petition Date, the Debtors have approximately $172 million of prepetition

funded indebtedness pursuant to the Financing Agreements, by and among the Borrower, the

Secured Lenders, the Agent, (and in the case of the Second Lien Financing Agreement, the Second

Lien Agent) and the Guarantors. The Prepetition Indebtedness comprises term loans, a revolving

line of credit, and payment-in-kind interest (“PIK Interest”) and is secured by substantially all of

the Debtors’ assets. As of the Petition Date, there was approximately $133,125,000.00 outstanding

term loan principal and $23,933,755.96 outstanding balance on the revolver facility under the First

Lien Financing Agreement, $15,000,000.00 under the Second Lien Financing Agreement, and

$6,323,107.07 under the Third Lien Financing Agreement. 5

               The Debtors’ Cash Collateral and Proposed Form of Adequate Protection

          8.       The proposed immediate use of the Cash Collateral is intended to allow the Debtors

to (a) satisfy their prepetition Payroll Obligations (and not in excess of the $12,850 priority wage

cap imposed by sections 507(a)(4) and 507(c)(5) of the Bankruptcy Code) and up to an aggregate

cap of $1,500,000 and (b) provide for the immediate working capital needs of the Debtors while

the Debtors operate in chapter 11 pending the Final Hearing. Without prompt access to Cash

Collateral, the Debtors are unable to satisfy their Payroll Obligations and will likely be unable to



4     The descriptions of the Debtors’ prepetition debt and the collateral securing their prepetition debt provided herein
      does not constitute, and should not be construed as, an admission by the Debtors regarding the validity, priority,
      or enforceability of any liens and security interests granted in connection therewith, and the Debtors reserve all
      rights to challenge or dispute any of the foregoing on any basis whatsoever, subject to all the provisions of the
      Interim Order or Final Order, as applicable. Capitalized terms used within this summary of lenders with liens on
      Cash Collateral but not otherwise defined herein shall have the meanings set forth in the Interim Order.
5     In addition, the Debtors routinely transact with a number of third-party contractors and vendors that (a) may be
      able to assert liens under applicable non-bankruptcy law against the Debtors and their assets if the Debtors fail to
      pay for the goods delivered or services rendered, who may have valid liens under applicable non-bankruptcy law,
      and would be able to assert secured claims against the Debtors; and (b) may be able to assert general unsecured
      claims against the Debtors.


                                                           4
138472731_392525-00001
19-10971-dsj            Doc 14       Filed 04/02/19 Entered 04/02/19 17:06:06                    Main Document
                                                  Pg 5 of 41



satisfy trade payables incurred in the ordinary course of business, preserve and maximize the value

of their estates, and administer these chapter 11 cases, which would cause immediate and

irreparable harm to the value of the Debtors’ estates to the detriment of all stakeholders.

                     Concise Statement of the Material Terms of the Interim Order

           9.       Pursuant to and in accordance with Bankruptcy Rule 4001(b)(1)(B) and Local

Bankruptcy Rule 4001-2(a), the material provisions of the Interim Order, and the location of such

provisions therein are summarized below. 6

    Material Terms                                    Summary of Material Terms                               Location

    Parties with Interest        The Prepetition Secured Parties (as defined in the First Day ¶ D, 3
    in Cash Collateral.          Declaration). 7
    Fed. R. Bankr. P.
    4001(b)(1)(B)(i)

    Interim Use of Cash          The Debtors have an immediate need to use Cash Collateral to ¶¶ B, F
    Collateral.                  permit, among other things, payment of the Payroll Obligations
                                 and the orderly continuation of the operation of their businesses,
    Fed. R. Bankr. P.
                                 and to avoid irreparable harm. The Debtors did not and do not
    4001(b)(1)(B)(ii), (iii)
                                 have sufficient available sources of working capital and financing
                                 to meet the Payroll Obligations and carry on the operation of their
                                 businesses without the Debtors’ continued ability to use Cash
                                 Collateral. Among other things, entry of the Interim Order will
                                 minimize disruption of the Debtors’ businesses and operations and
                                 prevent immediate and irreparable harm to their businesses. The
                                 Debtors shall be authorized to use the Cash Collateral pending
                                 entry of the Final Order.

    Adequate Protection          Secured Parties’ Adequate Protection Package. The adequate ¶¶ 5, 6
    Fed. Bankr. R. P.            protection package provided to the Secured Parties includes:
    4001(b)(1)(B)(iv)            •   the Adequate Protection Liens, including a first priority lien on
    Economic Terms                   and security interest in unencumbered property, a junior lien
    Including Fees and               on all encumbered property that is not Prepetition Collateral,
    Expenses of the Lenders,         and a priming lien on and security interest in all Prepetition
                                     Collateral;


6      This summary is qualified in its entirety by the provisions of the Interim Order. To the extent there are any
       conflicts between this summary and the Interim Order, the terms of the Interim Order shall govern. Unless
       otherwise defined herein, capitalized terms used in this section have the meanings given to them in the Interim
       Order.
7      Adequate protection is not being offered to the Second Lien Lenders (as defined in the First Day Declaration).


                                                          5
138472731_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 6 of 41



 Material Terms                               Summary of Material Terms                          Location
 Agents, and Their          •   a superpriority administrative expense claim pursuant to
 Respective Professionals       section 507(b) of the Bankruptcy Code; and
 S.D.N.Y. Bankr. L.R.       •   payment of all reasonable and documented fees and
 4001-2(a)(3)                   disbursements incurred by the professionals retained by the
                                Secured Parties.
 Amount of Cash             Subject to the terms of the Interim Order, the Debtors may use all ¶ 3
 Collateral to be Used      Cash Collateral in which the Secured Parties may have an interest,
 Fed. R. Bankr. P.          but only subject to the Budget. Any dispute in connection with the
 4001(b)(1)(B)(ii)          use of Cash Collateral shall be heard by the Bankruptcy Court.
                            Notwithstanding anything in the Interim Order to the contrary, the
 S.D.N.Y. Bankr. L.R.
 4001-2(a)(1), (c)
                            Debtors shall be immediately prohibited from using the Cash
                            Collateral upon the Cash Collateral Termination Date.

 Material Conditions to     The Budget. All use of Cash Collateral by the Debtors shall be ¶ 3
 Closing and Borrowing,     pursuant to a budget approved by Cerberus (as approved, the
 Including Budget           “Budget”). The proposed Budget is attached to the Interim Order
 Provisions                 as Exhibit A. The Debtors have reason to believe that the Budget
 S.D.N.Y. Bankr. L.R.       will be adequate, considering all available assets, to pay all
 4001-2(a)(2)               administrative expenses due or accruing during the period covered
                            by the Budget.
 Effect On the Existing     Priority of Adequate Protections Liens. Except as provided in the ¶ 6
 Liens                      Interim Order, the Adequate Protection Liens shall not at any time
 S.D.N.Y. Bankr. L.R.       be (i) made subject or subordinated to, or made pari passu with
 4001-2(a)(4)               any other lien, security interest or claim existing as of the Petition
                            Date, or created under sections 363 or 364(d) of the Bankruptcy
                            Code or otherwise or (ii) subject to any lien or security interest that
                            is avoided and preserved for the benefit of the Debtors’ estates
                            under section 551 of the Bankruptcy Code.
 Carve-Out                  The Interim Order provides a “Carve-Out” of certain statutory fees, ¶ 4
 S.D.N.Y. Bankr. L.R.       allowed professional fees of the Debtors, and any Creditors’
 4001-2(a)(5)               Committee appointed in the chapter 11 cases pursuant to section
                            1102 of the Bankruptcy Code, including a Post-Carve-Out Trigger
                            Notice Cap, all as detailed in the Interim Order and Budget.




                                                   6
138472731_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                            Pg 7 of 41



 Material Terms                               Summary of Material Terms                         Location
 Limitation on              The Interim Order prohibits the use of Cash Collateral for the ¶¶ 9, 10
 Enforcement Actions        purposes of: (a) requesting authorization to obtain postpetition
 S.D.N.Y. Bankr. L.R.       financing (whether equity or debt) or other financial
 4001-2(a)(8), (a)(9)       accommodations pursuant to section 364(c) or (d) of Bankruptcy
                            Code, or otherwise; (b) prosecuting or supporting any action that
                            has the effect of preventing, hindering, or delaying (whether
                            directly or indirectly) the Secured Parties in respect of their liens
                            and security interests in the Adequate Protection Collateral or the
                            Prepetition Collateral or any of their rights, powers, or benefits
                            hereunder or in the Financing Agreements anywhere in the world;
                            or (c) paying any claim of a prepetition creditor except as expressly
                            allowed by the Interim Order or other order of the Bankruptcy
                            Court.
                            The Interim Order also allows for a $25,000 to be used by a
                            Creditors’ Committee appointed in the cases to investigate claims
                            against the Secured Parties but prohibits any prosecution of any
                            actions related thereto.
 Funding of                 The Debtor’s Israeli affiliate Sizmek Technologies Ltd. will Budget
 Non-Debtor Affiliates      receive approximately $1,500,000 of the Cash Collateral in order
 S.D.N.Y. Bankr. L.R.       to fund payroll and social security payments. The Debtors believe
 4001-2(a)(15)              that payment of these amounts is necessary to preserve the value
                            of their estates by avoiding liquidation of an entity that owns
                            intellectual property used by the Debtors and as to which a Debtor
                            entity has a claim on residual value through an intercompany note.


                              The Debtors’ Need to Use Cash Collateral

         10.      On the Petition Date, the Debtors’ cash on hand totaled approximately $3,930,000,

all of which constituted Cash Collateral of the Secured Parties. The Debtors engaged with the

Secured Lenders regarding the terms on which they would consent to permit the Debtors to

continue to use Cash Collateral. These discussions resulted in the proposed Interim Order, entry

of which will allow the Debtors to transition smoothly into chapter 11 while continuing to operate

their businesses without disruption.

                           Summary of Proposed Use of Cash Collateral

         11.      Pursuant to the Interim Order, the Debtors’ right to use Cash Collateral will

commence on the date of entry of the Interim Order and shall remain in effect until the earlier of

(a) 45 days after the Petition Date (unless such period is extended by mutual agreement of Cerberus

                                                  7
138472731_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06            Main Document
                                            Pg 8 of 41



and the Debtors), if the Final Order has not been entered on or before such date, and (b) the

occurrence of any Termination Event set forth in the Interim Order.

         12.      Immediate access to Cash Collateral will provide the Debtors with the necessary

liquidity to (a) minimize disruption to the Debtors’ businesses and ongoing operations, (b) preserve

and maximize the value of the Debtors’ estates for the benefit of all the Debtors’ creditors, and (c)

avoid immediate and irreparable harm to the Debtors and their creditors, businesses, employees,

and assets. If the Debtors are unable to access Cash Collateral to meet their obligations on a timely

basis, the Debtors could suffer permanent harm.

                                           Basis for Relief

I.       The Use of Cash Collateral Is Warranted and Should Be Approved

         13.      Pursuant to section 363(c)(2) of the Bankruptcy Code, a debtor may not use cash

collateral unless “(A) each entity that has an interest in such cash collateral consents; or (B) the

court, after notice and a hearing, authorizes such use, sale, or lease in accordance with the

provisions of this section.” 11 U.S.C. § 363(c)(2).

         14.      Here, the Secured Parties have consented to the Debtors’ use of Cash Collateral on

the terms and conditions set forth in the Interim Order. Accordingly, the Debtors submit that the

use of Cash Collateral satisfies the requirements of section 363(c)(2) of the Bankruptcy Code.

II.      The Debtors’ Proposed Adequate Protection is Appropriate

         15.      Section 363(c)(2) of the Bankruptcy Code provides that, absent consent, a debtor

may use cash collateral where “the court, after notice and a hearing, authorizes such use, sale, or

lease in accordance with the provisions of this section.”          11 U.S.C. § 363(c)(2)(A), (B).

Section 363(e) of the Bankruptcy Code requires that the debtor adequately protect the secured

creditors’ interest in property to be used by a debtor against any diminution in value of such interest



                                                 8
138472731_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                            Pg 9 of 41



resulting from the debtor’s use of the property during the chapter 11 proceedings. 11 U.S.C. §

363(e).

          16.     The essential purpose of adequate protection is to protect against the diminution of

a secured creditor’s collateral during the period when such collateral is being used by the debtor

in possession. See Contrarian Funds LLC v. Aretex LLC (In re WestPoint Stevens, Inc.), 600 F.3d

231, 257 (2d Cir. 2010) (“Adequate protection is generally defined as a method by which a secured

creditor may apply to the Bankruptcy Court to protect its interest in the diminution in value of its

security during a bankruptcy proceeding.” (internal quotation marks omitted)); see also In re

WorldCom, Inc., 304 B.R. 611, 618-19 (Bankr. S.D.N.Y. 2004) (“The legislative history for

section 361 of the Bankruptcy Code, which sets forth how adequate protection may be provided

under section 363, makes clear that the purpose is to insure that the secured creditor receives the

value for which the creditor bargained for prior to the debtor’s bankruptcy.”); In re Carbone Cos.,

Inc., 395 B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the secured party’s interest

is protected from diminution or decrease as a result of the proposed use of cash collateral.” (citation

omitted)).      “However, neither the legislative history nor the Bankruptcy Code requires the

Bankruptcy Court to protect a creditor beyond what was bargained for by the parties.” WorldCom,

Inc., 304 B.R. at 619; see In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986)

(“Adequate protection, not absolute protection, is the statutory standard.”).

          17.     Generally, what constitutes sufficient adequate protection is decided on a case-by-

case basis. See, e.g., In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804 (HSB), 1992 WL 79323,

at *2 (Bankr. D. Del. Feb. 18, 1992); In re Monroe Park, 17 B.R. 934 (D. Del. 1982) (noting that

adequate protection requires a debtor to propose some form of relief that will preserve the secured

creditor’s interest in collateral pending the outcome of the bankruptcy proceedings); see also In re



                                                  9
138472731_392525-00001
19-10971-dsj         Doc 14      Filed 04/02/19 Entered 04/02/19 17:06:06                    Main Document
                                              Pg 10 of 41



Martin, 761 F.2d 472 (8th Cir. 1985); In re Mosello, 195 B.R. at 289; In re Realty Southwest

Assocs., 140 B.R. 360 (Bankr. S.D.N.Y. 1992). Adequate protection can come in various forms,

including the payment of adequate protection fees, payment of interest, and granting of

replacement liens.

         18.      As described above, the Debtors have obtained the consent of the Secured Parties

to continue to use Cash Collateral, in accordance with the Budget and subject to the terms and

conditions of the Interim Order. A critical condition of that agreement with the Secured Parties is

the Debtors’ agreement to provide the Secured Parties with the proposed adequate protection

package, which is consistent with the forms of adequate protection contemplated by the

Bankruptcy Code.

         19.      Accordingly, the Debtors submit that the adequate protection proposed for the

benefit of the Secured Parties is necessary and appropriate and satisfies the standards under section

363(c)(2) of the Bankruptcy Code. Courts in this district and others have granted similar relief in

other chapter 11 cases. See, e.g., In re Answers Holdings Inc., No. 17-10496 (SMB) (Bankr.

S.D.N.Y. Apr. 5, 2017); In re Sabine Oil & Gas Corp., No 15-11185 (SCC) (Bankr. S.D.N.Y. July

17, 2015); In re Cengage Learning, Inc., No. 13-44106 (ESS) (Bankr. E.D.N.Y. July 3, 2013);

In re Citadel Broad. Corp., No. 09-17442 (Bankr. S.D.N.Y. Mar. 3, 2010); In re Reader’s Digest

Ass’n, Inc., No. 09-23529 (Bankr. S.D.N.Y. Oct. 6, 2009); In re Extended Stay Inc., No. 09-13764

(Bankr. S.D.N.Y. July 23, 2009); In re ION Media Networks, Inc., No. 09-13125 (Bankr. S.D.N.Y

June 2, 2009); In re Gen. Growth Props., Inc., No. 09-11977 (Bankr. S.D.N.Y. May 14, 2009). 8




8   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.


                                                      10
138472731_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06           Main Document
                                            Pg 11 of 41



III.     The Automatic Stay Should Be Modified on a Limited Basis

         20.      The Interim Order provides that the automatic stay provisions of section 362 of the

Bankruptcy Code will be modified as necessary to effectuate the terms and provisions of the

Interim Order. The Interim Order further provides that the automatic stay is modified and vacated

to the extent necessary, upon the occurrence of the Cash Collateral Termination Date, to permit

the Adequate Protection Obligations to become immediately due and payable and, after the seven-

day period required by the Local Rules, to allow the Secured Parties to exercise the rights and

remedies available under the Financing Agreements, the Interim Order, or applicable law,

including foreclosing upon and selling all or a portion of the Prepetition Collateral or Adequate

Protection Collateral in order to collect the Adequate Protection Obligations.

         21.      The Debtors have determined, in an exercise of their business judgment that such

stay modifications are appropriate under the circumstances, in the context of a negotiated

consensual cash collateral order. Further, stay modifications of this kind are ordinary, and are

reasonable and fair under the circumstances of these chapter 11 cases. Courts in this district have

granted similar relief in other chapter 11 cases. See, e.g., In re Hawker Beechcraft, Inc., No. 12-

11873 (SMB) (Bankr. S.D.N.Y. June 1, 2012); In re Velo Holdings Inc., No. 12-11384 (MG)

(Bankr. S.D.N.Y. Apr. 23, 2012); In re United Retail Grp., Inc., No. 12-10405 (SMB) (Bankr.

S.D.N.Y. Feb. 23, 2012); In re Hostess Brands, Inc., No. 12-22052 (RDD) (Bankr. S.D.N.Y. Feb.

3, 2012); In re Great Atl. & Pac. Tea Co., No. 10-24549 (RDD) (Bankr. S.D.N.Y. Jan. 11, 2011);

In re Reader’s Digest Assoc., No. 09-23529 (RDD) (Bankr. S.D.N.Y. Oct. 6, 2009), In re Lear

Corp., No. 14326 (ALG) (Bankr. S.D.N.Y. Aug. 4, 2009); In re Gen. Growth Props. Inc., No. 09-

11977 (ALG) (Bankr. S.D.N.Y. May 14, 2009); In re Tronox Inc., No. 09-10156 (ALG) (Bankr.

S.D.N.Y. Feb. 6, 2009); In re Chemtura Corp., No. 09-11233 (REG) (Bankr. S.D.N.Y. April 23,

2009); In re Wellman, Inc., No. 08-10595 (SMB) (Bankr. S.D.N.Y. Apr. 7, 2008).

                                                 11
138472731_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                            Pg 12 of 41



                                      Request for Final Hearing

         22.      Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Bankruptcy Court, set a date for the Final Hearing that is as soon as practicable, but in no event

later than 25 days following the entry of the Interim Order, and fix the time and date prior to the

Final Hearing for parties to file objections to this Motion.

                                           Motion Practice

         23.      This Motion includes citations to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this Motion.

Accordingly, the Debtors submit that this Motion satisfies Local Bankruptcy Rule 9013-1(a).

                          Waiver of Bankruptcy Rule 6004(a) and 6004(h)

         24.      To implement the foregoing successfully, the Debtors request that the Bankruptcy

Court enter an order providing that notice of the relief requested herein satisfies Bankruptcy Rule

6004(a) and that the Debtors have established cause to exclude such relief from the 14-day stay

period under Bankruptcy Rule 6004(h).

                                                 Notice

         25.      The Debtors will provide notice of this Motion to the following parties and/or their

respective counsel, as applicable: (a) the Office of the United States Trustee for the Southern

District of New York Attn: Richard C. Morrisey, Esq; (b) the holders of the 50 largest unsecured

claims against the Debtors (on a consolidated basis); (c) the Prepetition Secured Parties; (d) the

Pension Benefit Guaranty Corporation; (e) the United States Attorney’s Office for the Southern

District of New York; (f) the Internal Revenue Service; (g) the United States Securities and

Exchange Commission; (h) the Environmental Protection Agency and all similar state

environmental agencies; (i) the attorneys general in the states where the Debtors conducts their

business operations; and (j) any party that has requested notice pursuant to Bankruptcy Rule 2002.

                                                  12
138472731_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06           Main Document
                                            Pg 13 of 41



The Debtors submit that, in light of the nature of the relief requested, no other or further notice

need be given.

                                          No Prior Request

         26.      No prior request for the relief sought in this Motion has been made to this or any

other court.

         WHEREFORE, the Debtors respectfully request that the Bankruptcy Court enter the

Interim Order and Final Order granting the relief requested herein and such other relief as the

Bankruptcy Court deems appropriate under the circumstances.

Dated: April 2, 2019                    /s/ Steven J. Reisman
New York, New York                      KATTEN MUCHIN ROSENMAN LLP
                                        Steven J. Reisman, Esq.
                                        Cindi M. Giglio, Esq.
                                        Jerry L. Hall, Esq. (pro hac vice forthcoming)
                                        575 Madison Avenue
                                        New York, NY 10022
                                        Telephone: (212) 940-8800
                                        Facsimile: (212) 940-8876
                                        Email:       sreisman@kattenlaw.com
                                                      cindi.giglio@kattenlaw.com
                                                     jerry.hall@kattenlaw.com

                                        -and-

                                        Peter A. Siddiqui, Esq. (pro hac vice forthcoming)
                                        Katten Muchin Rosenman LLP
                                        525 W. Monroe Street
                                        Chicago, IL 60661
                                        Telephone: (312) 902-5455
                                        Email:      peter.siddiqui@kattenlaw.com

                                        Proposed Counsel to the Debtors and Debtors-in-Possession




                                                 13
138472731_392525-00001
19-10971-dsj         Doc 14   Filed 04/02/19 Entered 04/02/19 17:06:06   Main Document
                                           Pg 14 of 41



                                          Exhibit A

                                   Proposed Interim Order




138472731_392525-00001
19-10971-dsj           Doc 14       Filed 04/02/19 Entered 04/02/19 17:06:06                      Main Document
                                                 Pg 15 of 41



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    SIZMEK INC., et al., 1                                      )        Case No. 19-10971 (SMB)
                                                                )
                                       Debtors.                 )        (Joint Administration Requested)
                                                                )

                                  INTERIM ORDER
                      (I) AUTHORIZING THE DEBTORS TO
                    USE CASH COLLATERAL PURSUANT TO
                 11 U.S.C. § 363, AND (II) GRANTING ADEQUATE
         PROTECTION PURSUANT TO 11 U.S.C. §§ 361, 362, 363, AND 507, AND
     SCHEDULING A FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(b)

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) pursuant to sections 105, 361, 362, 363 and 507 of the Bankruptcy

Code, and Rules 2002, 4001, 6004, and 9014 of the Bankruptcy Rules, and the Local Rules, for

entry of this Interim Order and entry of a Final Order by the Bankruptcy Court:

             (i)     authorizing the Debtors to use Cash Collateral on the terms set forth in this Interim

Order;

             (ii)    granting adequate protection as set forth in this Interim Order;

             (iii)   modifying the automatic stay imposed by Bankruptcy Code section 362 to the

extent necessary to implement and effectuate the terms and provisions of this Interim Order;

             (iv)    waiving any applicable stay (including under Bankruptcy Rules 4001 and 6004)



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and
      X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of
      these chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
2
      Capitalized terms used and not immediately defined herein have the meanings given to them in the Motion or
      the Bankruptcy Code, as applicable.



138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                            Pg 16 of 41



and provision for immediate effectiveness of this Interim Order;

         (v)      authorizing the Debtors to use Cash Collateral during the period commencing on

the date of the Bankruptcy Court’s entry of this Interim Order and ending on the earlier of

(a) the date the Bankruptcy Court enters the Final Order and (b) the date on which the Debtors’

right to use Cash Collateral terminates under the terms of this Interim Order;

         (vi)     scheduling an interim hearing (the “Interim Hearing”), pursuant to Bankruptcy

Rule 4001, to consider entry of this Interim Order; and

         (vii)    scheduling a final hearing (the “Final Hearing”) to consider entry of the Final Order

granting the relief requested in the Motion on a final basis;

         The Interim Hearing on the Motion having been held on April [___], 2019; and based upon

all of the pleadings filed with the Bankruptcy Court, the evidence presented at the Interim Hearing

and the entire record herein; and the Bankruptcy Court having heard and resolved or overruled all

objections to the interim relief requested in the Motion; and the Bankruptcy Court having noted

the appearances of all parties-in-interest; and it appearing that the relief requested in the Motion is

in the best interests of the Debtors, their estates, and their creditors, and other parties-in-interest;

and the Debtors having provided sufficient notice of the Motion as set forth in the Motion and it

appearing that no further or other notice of the Motion need be given; and after due deliberation

and consideration, and sufficient cause appearing therefor:

BASED ON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE
BANKRUPTCY COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT
AND CONCLUSIONS OF LAW:

         A.       Jurisdiction; Venue.   The Bankruptcy Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York, dated February 1, 2012. The

Debtors have confirmed their consent, pursuant to Bankruptcy Rule 7008, to the entry of a final

                                                    2
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06            Main Document
                                            Pg 17 of 41



order by the Bankruptcy Court in connection with the Motion to the extent that it is later

determined that the Bankruptcy Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The bases for the relief requested herein

are sections 105, 361, 362, 363, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001,

6004, and 9014, and the Local Bankruptcy Rules.

         B.       Irreparable Harm. The interim relief granted herein is necessary to avoid immediate

and irreparable harm to the Debtors and the Debtors’ estates as more fully set forth below.

         C.       Cash Collateral. The Debtors require the use of Cash Collateral to operate their

businesses and pay certain prepetition obligations, including, obligations related to wages and

medical benefits (collectively, the “Payroll Obligations”). Without the use of Cash Collateral, the

Debtors will not be able to meet the Payroll Obligations or satisfy their working capital needs, and

an immediate shutdown of the Debtors’ businesses is likely to result.

         D.       Secured Parties. The Debtors acknowledge and agree that, as of the Petition Date,

the Debtors were parties to that certain Financing Agreement, dated as of September 6, 2017 (as

subsequently amended from time to time, the “Financing Agreement”) with Cerberus Business

Finance, LLC (“Cerberus”), as administrative agent and collateral agent for certain revolver and

term loan lenders (the “Senior Lenders”) that are secured by first-priority liens on substantially all

of the Debtors’ assets (the “Prepetition Liens” on the “Prepetition Collateral”). The Senior Lenders

and Cerberus are collectively referred to herein as the “Secured Parties.”

         E.       Adequate Protection. The Adequate Protection Obligations (as defined below) are

sufficient to protect the interests of the Secured Parties in the Prepetition Collateral and no further




                                                   3
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06          Main Document
                                            Pg 18 of 41



adequate protection is presently required under sections 361 or 363, or any other provision of

the Bankruptcy Code.

         F.       Immediate Entry of Interim Order. The Debtors have requested immediate entry

of this Interim Order pursuant to Bankruptcy Rule 4001(b)(2), upon notice provided as set forth in

the Motion, which is, in the Debtors’ belief, the best available under the circumstances. The

permission granted herein to utilize Cash Collateral is necessary to avoid immediate and

irreparable harm to the Debtors. The Debtors have an immediate need to use Cash Collateral to

permit, among other things, the satisfaction of the Payroll Obligations and the orderly continuation

of the operation of their businesses. The Debtors do not have sufficient available sources of

working capital and financing to carry on the operation of their businesses without the Debtors’

continued ability to use Cash Collateral. Among other things, entry of the Order will minimize

disruption of the Debtors’ businesses and operations and permit them to pay their operating

expenses, subject to the Budget, including, without limitation, to retain their employees, maintain

business relationships with their vendors, and maintain customer and vendor confidence by

demonstrating an ability to maintain operations.            Based upon the foregoing findings,

acknowledgements, and conclusions, and upon the record made before the Bankruptcy Court at

the Interim Hearing, and good and sufficient cause appearing therefor;


IT IS HEREBY ORDERED:

         1.       Disposition. The Motion is granted on an interim basis and on the terms set forth

herein. Any objections to the Motion that have not previously been withdrawn, waived, settled,




                                                  4
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06            Main Document
                                            Pg 19 of 41



or resolved and all reservations of rights included therein are hereby denied and overruled on their

merits, but without prejudice to relief that may be granted on a final basis.

         2.       Effectiveness. This Interim Order shall constitute findings of fact (subject to

the terms set forth herein) and conclusions of law and shall take effect and be fully enforceable

nunc pro tunc to the Petition Date immediately upon entry hereof.                    Notwithstanding

Bankruptcy Rule 4001(a)(3) or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules of

Civil Procedure, this Interim Order shall be immediately effective and enforceable upon its entry

and there shall be no stay of execution or effectiveness of this Interim Order.

         3.       Authorization to Use Cash Collateral.

                         (a)     Subject to the terms of this Interim Order and the Budget (as defined

                  below), the Debtors are authorized to use all Cash Collateral in which the Secured

                  Parties may have an interest. Any dispute in connection with the use of Cash

                  Collateral shall be heard by the Bankruptcy Court. Notwithstanding anything in

                  this Interim Order to the contrary, the Debtors shall be immediately prohibited from

                  using Cash Collateral upon the Cash Collateral Termination Date.

                         (b)     All use of Cash Collateral by the Debtors pursuant to the terms of

                  this Interim Order must be pursuant to a budget approved by Cerberus (as approved,

                  the “Budget”). From entry of this Interim Order, the Budget, attached hereto as

                  Exhibit A, shall govern the Debtors’ use of Cash Collateral, provided, that the

                  Debtors shall be in compliance with the Budget so long as the Debtors’ total

                  disbursements do not exceed the total budgeted disbursements from the Budget by

                  more than 5% as calculated on a cumulative basis. The Debtors have reason to




                                                   5
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 20 of 41



                  believe that the Budget will be adequate, considering all available assets, to pay all

                  administrative expenses due or accruing during the period covered by the Budget.

                          (c)     While this Interim Order remains in effect, (i) the Debtors shall

                  continue to deposit all collections, receipts, and other Cash Collateral in deposit

                  accounts that are subject to deposit account control agreements in favor of

                  Cerberus, (ii) all Cash Collateral deposited in such accounts shall remain subject to

                  a daily “sweep” by Cerberus, and (iii) notwithstanding any such “sweep,” (X) Cash

                  Collateral shall be turned over and made available for use by the Debtors in

                  accordance with the terms and conditions of this Interim Order and (Y) none of the

                  swept funds will be applied to satisfaction of any prepetition obligation under the

                  Financing Agreement absent a further order of the Court. The Debtors will not use

                  any funds made available to them except as specified in the Budget. For avoidance

                  of doubt, Cerberus shall not be permitted to conduct a “sweep” of any accounts

                  which are not pledged as collateral for the Financing Agreement.

                         (d)     During the period in which this Interim Order is in effect, the

                  Debtors shall segregate the Cash Collateral attributable to or arising from the

                  Prepetition Collateral, and such Cash Collateral shall not be commingled with

                  assets or collateral of any party which is not a Debtor and shall at all times be

                  subject to the liens and control of the Secured Parties.

         4.       Carve-Out.

                          (a)     As used in this Interim Order, the “Carve Out” means the sum of

                  (i) all fees required to be paid to the Clerk of the Court and to the Office of the U.S.

                  Trustee under section 1930(a) of title 28 of the United States Code together with



                                                     6
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 21 of 41



                  interest, if any, pursuant to 31 U.S.C. § 3717 (without regard to the notice set forth

                  in (iii) below); (ii) all reasonable fees, commissions, and expenses up to $50,000

                  incurred by a chapter 7 trustee under section 726(b) of the Bankruptcy Code

                  (without regard to the notice set forth in (iii) below); (iii) to the extent allowed at

                  any time, whether by interim order, procedural order, or otherwise, all unpaid fees

                  and expenses (the “Allowed Professional Fees”) incurred by persons or firms

                  retained by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code

                  (the “Debtor Professionals”) at any time before or on the first business day

                  following delivery of a Carve Out Trigger Notice (as defined below), but, for the

                  avoidance of doubt, whether allowed by the Bankruptcy Court prior to or after

                  delivery of a Carve Out Trigger Notice, but only up to an aggregate amount of the

                  fees and expenses set forth in the Budget for the period through the Date of the

                  Carve Out Trigger Notice less the amount of such fees and expenses for such period

                  that have already been paid; and (iv) Allowed Professional Fees of Professional

                  Persons in an aggregate amount not to exceed $200,000 incurred after the first

                  business day following delivery by Cerberus of the Carve Out Trigger Notice, to

                  the extent allowed at any time, whether by interim order, procedural order, or

                  otherwise (the aggregate amount set forth in this clause (iv) being the “Post-Carve

                  Out Trigger Notice Cap”). For purposes of the foregoing, “Carve Out Trigger

                  Notice” shall mean a written notice delivered by email (or other electronic means)

                  by Cerberus to the Debtors, their lead restructuring counsel, and the U.S. Trustee,

                  which notice may be delivered following the occurrence and during the

                  continuation of a Termination Event and upon termination of the Debtors’ right to



                                                    7
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 22 of 41



                  use Cash Collateral by the Secured Parties, stating that the Post-Carve Out Trigger

                  Notice Cap has been invoked.

                         (b)     Carve-Out Reserves. On the day on which a Carve Out Trigger

                  Notice is given by Cerberus pursuant to the preceding subparagraph (the

                  “Termination Declaration Date”), the Carve Out Trigger Notice shall constitute a

                  demand to the Debtors to utilize all cash on hand as of such date and any available

                  cash thereafter held by any Debtor to fund a reserve in an amount equal to the then

                  amounts of the Allowed Professional Fees set forth in the Budget for the period

                  through the Date of the Carve Out Trigger Notice less the amount of such fees and

                  expenses for such period that have already been paid. The Debtors shall deposit

                  and hold such amounts in a segregated account in trust to pay such then unpaid

                  Allowed Professional Fees (the “Pre-Carve Out Trigger Notice Reserve”) prior to

                  any and all other claims. On the Termination Declaration Date, after funding the

                  Pre-Carve Out Trigger Notice Reserve, the Debtors shall utilize all remaining cash

                  on hand as of such date and any available cash thereafter held by any Debtor to

                  fund a reserve in an amount equal to the $200,000 Post-Carve Out Trigger Notice

                  Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-

                  Carve Out Trigger Notice Reserve, the “Carve Out Reserves”) prior to any and all

                  other claims. All funds in the Pre-Carve Out Trigger Notice Reserve shall be used

                  first to pay the obligations set forth in clauses (i) through (iii) of the definition of

                  Carve Out set forth above (the “Pre-Carve Out Amounts”), but not, for the

                  avoidance of doubt, the Post-Carve Out Trigger Notice Cap, until paid in full, and

                  then, to the extent the Pre-Carve Out Trigger Notice Reserve has not been reduced



                                                     8
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 23 of 41



                  to zero, to pay Cerberus for the benefit of the Secured Parties, unless the obligations

                  under the Financing Agreement have been indefeasibly paid in full, in cash, in

                  which case any such excess shall be paid to the Debtors’ creditors in accordance

                  with their rights and priorities as of the Petition Date. All funds in the Post-Carve

                  Out Trigger Notice Reserve shall be used first to pay the obligations set forth in

                  clause (iv) of the definition of Carve Out set forth above (the “Post-Carve Out

                  Amounts”), and then, to the extent the Post Carve Out Trigger Notice Reserve has

                  not been reduced to zero, to pay Cerberus for the benefit of the Secured Parties,

                  unless all amounts owed under the Financing Agreement have been indefeasibly

                  paid in full, in cash, in which case any such excess shall be paid to the Debtors’

                  creditors in accordance with their rights and priorities as of the Petition Date.

                          (c)    No Direct Obligation To Pay Allowed Professional Fees. None of

                  the Secured Parties shall be responsible for the payment or reimbursement of any

                  fees or disbursements of any Professional Person incurred in connection with these

                  chapter 11 cases or any successor cases under any chapter of the Bankruptcy Code.

                  Nothing in this Interim Order or otherwise shall be construed to obligate the

                  Secured Parties, in any way, to pay compensation to, or to reimburse expenses of,

                  any Professional Person or to guarantee that the Debtors have sufficient funds to

                  pay such compensation or reimbursement.

                          (d)    Payment of Carve Out On or After the Termination Declaration

                  Date.   Any payment or reimbursement made on or after the occurrence of

                  the Termination Declaration Date in respect of any Allowed Professional Fees shall

                  permanently reduce the Carve Out on a dollar-for-dollar basis.



                                                    9
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 24 of 41



         5.       Adequate Protection for Secured Parties. The Secured Parties are hereby granted

the following protections pursuant to sections 361, 507, and 363(e) of the Bankruptcy Code or

otherwise, with respect to the Prepetition Liens for the consent of such Secured Parties to the use

of their Prepetition Collateral (including Cash Collateral) and as adequate protection for the

diminution in value of the Prepetition Collateral (the “Diminution in Value”), whether or not such

Diminution in Value results from the sale, lease or use by the Debtors of the Prepetition Collateral

(including, without limitation, Cash Collateral) or the stay of enforcement of any prepetition

security interest arising from section 362 of the Bankruptcy Code, or otherwise (the items set forth

in clauses (a) through (c) below shall be referred to collectively as the “Adequate Protection

Obligations”):

                         (a)     Adequate Protection Liens. Cerberus on behalf of the Secured

                  Parties is granted, solely to the extent of any Diminution in Value, effective and

                  perfected as of the date of this Interim Order and without the necessity of

                  the execution of mortgages, security agreements, pledge agreements, financing

                  statements or other agreements, valid, perfected, postpetition security interests in

                  and liens (together, the “Adequate Protection Liens”) on all of the property, assets

                  or interests in property or assets of each Debtor, each Debtor’s “estate” (as defined

                  in the Bankruptcy Code), in each case of any kind or nature whatsoever, real or

                  personal, tangible or intangible, and now existing or hereafter acquired or created,

                  including, without limitation, all accounts, inventory, goods, contract rights,

                  instruments, documents, chattel paper, patents, trademarks, copyrights, and licenses

                  therefor, general intangibles, payment intangibles, tax or other refunds, insurance

                  proceeds, letters of credit, letter-of-credit rights, supporting obligations, machinery



                                                    10
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06               Main Document
                                             Pg 25 of 41



                  and equipment, real property, fixtures, leases (and proceeds from the disposition

                  thereof), all of the issued and outstanding capital stock of each subsidiary of such

                  Debtor, all of the capital stock of all other entities that are not subsidiaries directly

                  owned by such Debtor, money, investment property, deposit accounts, all

                  commercial tort claims and other causes of action (including any and all actions

                  arising under the Bankruptcy Code), Cash Collateral, and all cash and non-cash

                  proceeds, rents, products, substitutions, accessions, and profits of any of the

                  collateral described above; provided that any liens on proceeds and property

                  recovered in respect of claims and causes of action arising under sections 544, 545,

                  547, 548, 549, and 550 of the Bankruptcy Code shall be subject to entry of the Final

                  Order (collectively, with respect to all such entities, the “Adequate Protection

                  Collateral”), as follows:

                          i.      a first priority, perfected priming security interest in and lien under
                                  sections 361(2) and 363(c)(2) of the Bankruptcy Code upon all
                                  Adequate Protection Collateral that also constitutes Prepetition
                                  Collateral, in all cases senior to the Prepetition Liens as well as all
                                  other liens and obligations secured by the Prepetition Collateral on
                                  a pari passu or junior basis to the Prepetition Liens; and

                          ii.     a junior lien, under sections 361(2) and 363(c)(2) of the Bankruptcy
                                  Code upon all of the Adequate Protection Collateral of each Debtor
                                  and of each Debtor’s estate that is, as of the Petition Date subject to
                                  valid, perfected, and non-avoidable liens in favor of third parties
                                  that are senior in priority to the Secured Parties’ prepetition liens
                                  and interests in the applicable Prepetition Collateral (the “Prior
                                  Liens”).

                          (b)     Superpriority Claim. Cerberus on behalf of the Secured Parties is

                  granted, for the reasons set forth above in this paragraph 5, solely to the extent of

                  any Diminution in Value, subject to the Carve-Out, a superpriority administrative

                  expense claim (the “Superpriority Claim”) pursuant to section 507(b) of the


                                                     11
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 26 of 41



                  Bankruptcy Code, having priority over any and all other claims against the Debtors,

                  now existing or hereafter arising, of any kind whatsoever, including, without

                  limitation, all administrative expenses of the kinds specified in or arising or ordered

                  under sections 105(a), 326, 328, 330, 331, 363, 503(b), 506(c), 507, 546(c), 726,

                  1113, and 1114 of the Bankruptcy Code, whether or not such expenses or claims

                  may become secured by a judgment lien or other non-consensual lien, levy or

                  attachment, which allowed claims shall be payable from and have recourse to all

                  prepetition and postpetition property of the Debtors and all proceeds thereof.

                  Except as expressly set forth herein, no other superpriority claims shall be granted

                  or allowed in these chapter 11 cases.

                         (c)     As further compensation for the consensual use of the Prepetition

                  Collateral, including Cash Collateral, by the Debtors for the reasons set forth above

                  in this paragraph 5, and in accordance with sections 361 and 363 of the Bankruptcy

                  Code, the respective professional identified below shall receive from the Debtors

                  current cash payments of all reasonable and documented fees and disbursements of

                  professionals retained by the Secured Parties, in each case promptly upon receipt

                  of summary form invoices and without the need for such professional to file any

                  fee statement or application with the Bankruptcy Court or provide detailed time

                  entries to the Debtors or any other party; provided that all such payments shall be

                  subject to recharacterization to the extent permitted by the Bankruptcy Code.

                         (d)     Reservation of Rights. Notwithstanding any other provision hereof

                  to the contrary, the grant of Adequate Protection Obligations to the Secured Parties

                  pursuant hereto is without prejudice to the right of the Secured Parties to seek



                                                    12
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                             Pg 27 of 41



                  different or additional adequate protection, including without limitation the current

                  payment of postpetition interest (at the applicable default rate), to seek payments

                  under section 506(b) of the Bankruptcy Code when this Interim Order or the Final

                  Order, as applicable, is no longer in effect, or to withdraw their consent to any

                  further use of Cash Collateral. Nothing herein shall preclude the Secured Parties

                  from asserting any additional claims, secured or unsecured, against the Debtors,

                  their affiliates, or any other party under the Bankruptcy Code or applicable non-

                  bankruptcy law. Except as expressly provided herein, nothing contained in this

                  Interim Order (including without limitation, the authorization to use any Cash

                  Collateral) shall impair or modify any rights, claims or defenses available in law or

                  equity to the Secured Parties. Nothing in this Interim Order shall constitute an

                  admission that the Secured Parties are not entitled to payment or allowance of

                  claims under section 506(b) of the Bankruptcy Code.

         6.       Additional Provisions Regarding the Adequate Protection Obligations.

                         (a)      The Adequate Protection Liens shall cover all property and assets of

                  the Debtors and their estates (now or hereafter acquired and all proceeds thereof),

                  including property or assets, if any, that does not secure the Prepetition

                  Indebtedness.

                         (b)      Except as provided in this Interim Order, the Adequate Protection

                  Liens shall not at any time be (i) made subject or subordinated to, or made

                  pari passu with any other lien, security interest or claim existing as of the Petition

                  Date, or created under sections 363 or 364(d) of the Bankruptcy Code or otherwise




                                                   13
138461432_392525-00001
19-10971-dsj         Doc 14      Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                              Pg 28 of 41



                  or (ii) subject to any lien or security interest that is avoided and preserved for

                  the benefit of the Debtors’ estates under section 551 of the Bankruptcy Code.

                          (c)     Subject to entry of the Final Order, any provision of any lease, loan

                  document, easement, use agreement, proffer, covenant, license, contract,

                  organizational document, or other instrument or agreement that requires the consent

                  or approval of one or more landlords, licensors, or other parties, or requires

                  the payment of any fees or obligations to any governmental entity,

                  non-governmental entity or any other person, in order for any of the Debtors to

                  pledge, grant, mortgage, sell, assign, or otherwise transfer any fee or leasehold

                  interest or the proceeds thereof or other collateral, shall have no force or effect with

                  respect to the transactions granting Cerberus, for the benefit of the Secured Lenders,

                  a priority security interest in such fee, leasehold or other interest or other collateral

                  or the proceeds of any assignment, sale or other transfer thereof, by any of

                  the Debtors.

                          (d)     Unless expressly provided otherwise herein, the Adequate

                  Protection Liens, Superpriority Claims, and other rights, benefits, and remedies

                  granted under this Interim Order to the Secured Parties, shall continue in these

                  chapter 11 cases, in any superseding case or cases under the Bankruptcy Code

                  (including without limitation any case under chapter 7 of the Bankruptcy Code) (a

                  “Superseding Case”), and following any dismissal of the chapter 11 cases, and such

                  liens and claims shall maintain their priority as provided in this Interim Order until

                  all Adequate Protection Obligations been indefeasibly paid in full in cash and

                  completely satisfied.



                                                     14
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                             Pg 29 of 41



                         (e)     All reasonable and documented fees paid and payable, and costs or

                  expenses reimbursed or reimbursable by the Debtors to the Secured Parties are

                  hereby approved. The Debtors are hereby authorized and directed to promptly pay

                  all such reasonable and documented fees, costs, and out-of-pocket expenses on

                  demand, without the necessity of any further application with the Bankruptcy Court

                  for approval or payment of such fees, costs or expenses; provided that any

                  unresolved objections raised with respect to the reasonableness of such fees and

                  out-of-pocket expenses shall be subject to resolution by the Bankruptcy Court.

                         (f)     Notwithstanding anything to the contrary herein, the reasonable and

                  documented fees, costs and out-of-pocket expenses of the Secured Parties, whether

                  incurred prior to or after the Petition Date, shall be deemed fully earned, non-

                  refundable, irrevocable, and non-avoidable as of the date of this Interim Order. All

                  unpaid fees, costs, and expenses shall be included and constitute part of the

                  Superpriority Claims and be secured by the Adequate Protection Liens.

         7.       Perfection of Adequate Protection Liens.

                         (a)     This Interim Order shall be sufficient and conclusive evidence of the

                  validity, perfection, and priority of the Adequate Protection Liens, without the

                  necessity of filing or recording any financing statement or other instrument or

                  document which may otherwise be required under the law or regulation of any

                  jurisdiction or the taking of any other action (including, for the avoidance of doubt,

                  entering into any deposit account control agreement) to validate or perfect (in

                  accordance with applicable non-bankruptcy law) the Adequate Protection Liens, or

                  to entitle Cerberus and the other Secured Parties to the priorities granted herein.



                                                   15
138461432_392525-00001
19-10971-dsj         Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06              Main Document
                                             Pg 30 of 41



                          (b)     Without limiting the foregoing subparagraph, the Secured Parties

                  are hereby authorized, but not required, to file or record financing statements,

                  trademark filings, copyright filings, mortgages, notices of lien or similar

                  instruments in any jurisdiction, or take possession of or control over, or take any

                  other action in order to validate and perfect the liens and security interests granted

                  to them hereunder, in each case without the necessity to pay any mortgage

                  recording fee or similar fee or tax. Whether or not the Secured Parties shall, in their

                  sole discretion, choose to file such financing statements, trademark filings,

                  copyright filings, mortgages, notices of lien or similar instruments, or take

                  possession of or control over, or otherwise confirm perfection of the liens and

                  security interests granted to it hereunder, such liens and security interests shall be

                  deemed valid, perfected, allowed, enforceable, non-avoidable, and not subject to

                  challenge dispute or subordination (except as specified herein), at the time and on

                  the date of entry of this Interim Order. The Debtors shall, if requested, execute and

                  deliver to the Secured Parties all such agreements, financing statements,

                  instruments and other documents as the Secured Parties may reasonably request to

                  more fully evidence, confirm, validate, perfect, preserve, and enforce the Adequate

                  Protection Liens. All such documents will be deemed to have been recorded and

                  filed as of the Petition Date.

                          (c)     A certified copy of this Interim Order may, in the discretion of

                  the Secured Parties, be filed with or recorded in filing or recording offices in

                  addition to or in lieu of such financing statements, mortgages, notices of lien, or




                                                    16
138461432_392525-00001
19-10971-dsj         Doc 14      Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                              Pg 31 of 41



                  similar instruments, and all filing offices are hereby directed to accept such certified

                  copy of this Interim Order for filing and recording.

         8.       Termination Events.

                          (a)     The occurrence and continuance of any of the following events,

                  unless waived by Cerberus in writing shall constitute a termination event with

                  respect to the Debtors’ right to use the Cash Collateral pursuant to this Interim

                  Order (the events set forth in clauses (i) through (xv) below are collectively referred

                  to herein as the “Termination Events”):

                          i.      the Final Order has not been entered by the Bankruptcy Court within
                                  forty-five days after the Petition Date, unless such period has been
                                  extended by mutual agreement of Cerberus and the Debtors;

                         ii.      failure of the Debtors to file, on or before April 12, 2019, a motion
                                  to approve one or more section 363 sale transactions (which, in the
                                  aggregate, encompass substantially all of the Debtors’ assets) and
                                  associated bid procedures acceptable to Cerberus, which motion
                                  must be accompanied by (X) executed asset purchase agreements
                                  with the proposed “stalking horse” bidders and (Y) cash deposits
                                  from such bidders in amounts acceptable to Cerberus in its sole and
                                  absolute discretion; provided, however, that Cerberus may agree, in
                                  its sole and absolute discretion, to vary any of the preceding
                                  requirements, including, without limitation, in the event the Debtors
                                  arrange for a binding sale of one or more of the Debtors’ business
                                  segments;

                          iii.    failure of the Debtors to make any payment required under
                                  this Interim Order after such payment becomes due under the terms
                                  hereof;

                         iv.      failure of the Debtors to comply in any material respect with any
                                  covenant, agreement, or provision of this Interim Order;

                         v.       an order is entered reversing, amending, supplementing, staying,
                                  vacating or otherwise modifying this Interim Order, or that has the
                                  effect of any of the foregoing, without the advance written consent
                                  of Cerberus;

                         vi.      the Bankruptcy Court (or any court of competent jurisdiction) enters
                                  an order dismissing any of these chapter 11 cases;

                                                    17
138461432_392525-00001
19-10971-dsj         Doc 14      Filed 04/02/19 Entered 04/02/19 17:06:06           Main Document
                                              Pg 32 of 41



                         vii.     the Bankruptcy Court (or any court of competent jurisdiction) enters
                                  an order converting any of these chapter 11 cases to cases under
                                  chapter 7 of the Bankruptcy Code;

                         viii.    the Bankruptcy Court (or any court of competent jurisdiction) enters
                                  an order appointing a chapter 11 trustee, responsible officer, or any
                                  examiner with enlarged powers relating to the operation of the
                                  businesses in these chapter 11 cases;

                         ix.      any Debtor uses Cash Collateral to fund any payments in respect of
                                  prepetition or post-petition claims other than (i) as permitted under
                                  this Interim Order or any other order of the Bankruptcy Court; or
                                  (ii) as otherwise expressly contemplated by the Budget or an order
                                  consented to by Cerberus; or

                         x.       the Bankruptcy Court (or any court of competent jurisdiction) enters
                                  an order terminating the use of Cash Collateral.

                         (b)      Remedies upon the Cash Collateral Termination Date. The Debtors

                  shall promptly provide notice to Cerberus (with a copy to counsel for the U.S.

                  Trustee and any official committee) of the occurrence of any Termination Event.

                  The Debtors’ right to use Cash Collateral pursuant to this Interim Order shall

                  automatically terminate on the date that is the second business day following the

                  delivery of a written notice (any such notice, a “Cash Collateral Termination

                  Notice,” any such two-day period of time following delivery of a Cash Collateral

                  Termination Notice, the “Default Notice Period,” and the date following the

                  Default Notice Period, the “Cash Collateral Termination Date”) by Cerberus to the

                  Debtors, counsel for the U.S. Trustee, and any official committee of the occurrence

                  of any Termination Event unless such occurrence is cured by the Debtors prior to

                  the expiration of the Default Notice Period with respect to such clause or such

                  occurrence is waived by the Secured Lenders in their reasonable discretion,

                  provided further that, (X) during the Default Notice Period, the Debtors shall be

                  entitled to continue to use the Cash Collateral in accordance with the terms of this

                                                   18
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                            Pg 33 of 41



                  Interim Order; (Y) in the case of Termination Events described in clauses ii, v, vi,

                  vii and viii above, the termination shall automatically occur on the occurrence of

                  the event described in the applicable clause without any requirement of notice from

                  Cerberus or the running of a Default Notice Period; and (Z) nothing contained

                  herein shall prohibit or restrict the Debtors from seeking further relief from the

                  Bankruptcy Court regarding the use of Cash Collateral following the delivery of

                  any Cash Collateral Termination Notice. Upon the Cash Collateral Termination

                  Date: (a) the Debtors’ right to use Cash Collateral (other than the Carve-Out in

                  accordance with paragraph 4 hereof) shall terminate, (b) the Adequate Protection

                  Obligations, if any, shall become immediately due and payable, and (c) Cerberus

                  and the other Secured Parties may, within seven calendar days after occurrence of

                  the Cash Collateral Termination Date and in each case subject to the Carve-Out,

                  exercise the rights and remedies available under the Financing Agreements, this

                  Interim Order or applicable law, including without limitation, foreclosing upon and

                  selling all or a portion of the Prepetition Collateral or Adequate Protection

                  Collateral in order to collect the Adequate Protection Obligations. The automatic

                  stay under Bankruptcy Code section 362 is hereby deemed modified and vacated

                  to the extent necessary or appropriate to permit such actions. Notwithstanding the

                  occurrence of the Cash Collateral Termination Date or anything herein, all of the

                  rights, remedies, benefits and protections provided to the Secured Parties under this

                  Interim Order shall survive the Cash Collateral Termination Date.

                         (c)     If a Termination Event occurs because the Debtors fail to meet the

                  milestone set forth in paragraph 8(a)(ii), then (i) the Debtors shall immediately



                                                   19
138461432_392525-00001
19-10971-dsj         Doc 14       Filed 04/02/19 Entered 04/02/19 17:06:06                      Main Document
                                               Pg 34 of 41



                  begin to implement an orderly wind down of all of their affairs and (ii) the Debtors

                  and Cerberus shall negotiate in good faith regarding a further budget and cash

                  collateral order to govern such wind-down process.

         9.       Restriction on Use of Funds. Notwithstanding anything herein to the contrary, no

Adequate Protection Collateral, proceeds thereof, Cash Collateral, Prepetition Collateral, proceeds

thereof, or any portion of the Carve-Out may be used by any of the Debtors, their estates, any

affiliate of the Debtors, any creditors’ committee, any trustee or examiner appointed in

these chapter 11 cases or any chapter 7 trustee, or any other person, party or entity to, directly or

indirectly, (a) request authorization to obtain postpetition financing (whether equity or debt) or

other financial accommodations pursuant to section 364(c) or (d) of Bankruptcy Code, or

otherwise; (b) prosecute or support any action that has the effect of preventing, hindering, or

delaying (whether directly or indirectly) the Secured Parties in respect of their liens and security

interests in the Adequate Protection Collateral or the Prepetition Collateral or any of their rights,

powers, or benefits hereunder or in the Financing Agreements anywhere in the world; or (c) pay any

claim of a prepetition creditor except as expressly allowed by this Interim Order or other order of

the Bankruptcy Court.

         10.      Investigation Period. Notwithstanding anything herein to the contrary, until the day

that is 75 days from the date of the entry of the Final Order (as such date may be extended by

Cerberus or by the Bankruptcy Court for cause shown, the “Investigation Termination Date”) 3, the

creditors’ committee, if any, or any other party in interest shall be entitled to investigate the liens




3
    If the Final Order is not entered, then the Investigation Termination Date shall be the sixtieth calendar day after
    the entry of this Interim Order.


                                                         20
138461432_392525-00001
19-10971-dsj         Doc 14      Filed 04/02/19 Entered 04/02/19 17:06:06                     Main Document
                                              Pg 35 of 41



and claims of and claims against the Secured Parties; 4 provided, however, that the creditors’

committee, if any, may use up to $25,000 of the Cash Collateral (the “Investigation Fund”) for

such investigation. Any claim incurred in connection with any activities described in this

paragraph 10 shall not constitute an allowed administrative expense claim for purposes of section

1129(a)(9)(A) of the Bankruptcy Code. Any assertion of claims or causes of action of the Debtors

or their estates against any of the Secured Parties by any party in interest must be made by

commencing an adversary proceeding or contested matter on or before the Investigation

Termination Date. If no such action is filed on or before the Investigation Termination Date, then

all persons and entities shall be forever barred from bringing or taking such action.

         11.      No Waiver. This Interim Order shall not be construed in any way as a waiver or

relinquishment of any rights that the Secured Parties may have to bring or be heard on any matter

brought before the Bankruptcy Court. Nothing herein shall preclude the Secured Parties from

asserting any additional claims, secured or unsecured, against the Debtors, their affiliates, or any

other party under the Bankruptcy Code or applicable non-bankruptcy law. The rights of the

Secured Parties are expressly reserved and entry of this Interim Order shall be without prejudice

to, and does not constitute a waiver, expressly or implicitly, of the following: (a) the Secured

Parties’ rights under the Financing Agreement and all related documents; (b) the Secured Parties’

rights to seek any other or supplemental relief in respect of the Debtors; (c) any of the Secured

Parties’ rights under the Bankruptcy Code or under non-bankruptcy law; or (d) any other rights,

claims, or privileges (whether legal, equitable, or otherwise) of the Secured Parties.




4
    Nothing herein shall be interpreted as conferring on any person or entity standing to pursue any claim, cause of
    action or take any action on behalf of the Debtors or their respective estates.


                                                        21
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                            Pg 36 of 41



         12.      Extension of Budget. If the Debtors timely satisfy the milestone set forth in

paragraph 8(a)(ii) and provide Cerberus with a two-week budget acceptable to Cerberus in its sole

and absolute discretion on or before the expiration of the Budget, then such two-week budget shall

become operative and shall govern the Debtors use of Cash Collateral for the period covered by

such budget pursuant to the terms and conditions of this Interim Order. If such two-week budget

becomes operative, the Debtors shall promptly file notice of same.

         13.      Priority of Terms. To the extent of any conflict between or among (a) the express

terms or provisions of any of the Motion, any other order of the Bankruptcy Court, or any other

agreements, on the one hand, and (b) the terms and provisions of this Interim Order, on the other

hand, unless such term or provision herein is phrased in terms of “as defined in” or “as more fully

described in” such other document, the terms and provisions of this Interim Order shall govern.

To the extent there is any inconsistency between this Interim Order and any order concerning the

Debtors’ cash management systems or bank accounts or any other “first day” relief, this Interim

Order shall control.

         14.      No Third Party Beneficiary. Except as explicitly set forth herein, no rights are

created hereunder for the benefit of any third party, any creditor or any direct, indirect or incidental

beneficiary.

         15.      Headings. Section headings used herein are for convenience only and are not to

affect the construction of or to be taken into consideration in interpreting this Interim Order.

         16.      Final Hearing Date. The Final Hearing to consider the entry of the Final Order

approving the relief sought in the Motion shall be held on [●], 2019 at [●:●] a.m. before the

Honorable Stuart M. Bernstein at the United States Bankruptcy Court for the Southern District of

New York, One Bowling Green, Manhattan, NY 10004.



                                                  22
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06            Main Document
                                            Pg 37 of 41



         17.      Adequate Notice. The notice given by the Debtors of the Interim Hearing was given

in accordance with Bankruptcy Rules 2002 and 4001(b)(3), and the Local Bankruptcy Rules, and

was adequate and sufficient. Under the circumstances, no further notice of the request for the relief

granted at the Interim Hearing is required. The Debtors shall promptly mail copies of this Interim

Order and notice of the Final Hearing to the Notice Parties, any known entity effected by the terms

of the Final Order, and any other entity requesting notice after the entry of this Interim Order.

Any objection to the relief sought at the Final Hearing shall be made in writing setting forth with

particularity the grounds thereof, and filed with the Bankruptcy Court and served so as to be

actually received no later than 7 days prior to the Final Hearing by the following: (i) the Debtors,

401 Park Avenue South, Fifth Floor, New York, NY 10016, Attn: George Pappachen; (ii) proposed

counsel to the Debtors, Katten Muchin Rosenman LLP, 575 Madison Avenue, New York, New

York, 10022, Attn: Steven J. Reisman, Katten Muchin Rosenman LLP, 525 W. Monroe Street,

Chicago, IL 60661-3693, Attn: Peter A. Siddiqui; (iii) counsel to Cerberus: Thomas E. Patterson

& David A. Fidler, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars, 39th Floor,

Los Angeles, California 90067; (iv) counsel to the official committee of unsecured creditors, if

any; (vi) the Office of the United States Trustee for Southern District of New York, Region 2, 201

Varick Street, Room 1006, New York, NY 10014, Attn: Richard Morrissey; and (ix) any party that

has requested notice pursuant to Bankruptcy Rule 2002, and shall be filed with the Clerk of

the Bankruptcy Court.

         18.      Binding Effect; Successors and Assigns. Except as expressly provided herein, the

provisions of this Interim Order, including all findings herein, shall be binding upon all

parties-in-interest in these chapter 11 cases, including, without limitation, the Secured Parties, any

creditors’ committee or examiner appointed in these chapter 11 cases, and the Debtors, and their



                                                 23
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                            Pg 38 of 41



respective successors and assigns (including any trustee or fiduciary hereinafter appointed as a

legal representative of any Debtor or with respect to the property of the estate of any Debtor)

whether in these chapter 11 cases, in any successor cases, or upon any dismissal of any such

chapter 11 or chapter 7 case and shall inure to the benefit of the Secured Parties and their respective

successors and assigns. Each admission and agreement contained in this Interim Order shall also

be binding upon all other parties-in-interest, including, any creditors’ committee, under all

circumstances and for all purposes. No obligation, payment, transfer, or grant of security to the

Secured Parties under this Interim Order shall be stayed, restrained, voidable, or recoverable under

the Bankruptcy Code or any applicable non-bankruptcy law, or subject to any defense, reduction,

setoff, recoupment, or counterclaim.

         19.      The Debtors’ Intention to Seek Certain Waivers. In connection with entry of the

Final Order, the Debtors intend to seek (i) full and final waivers by the Debtors and their estates

of any claim or right under Bankruptcy Code section 506(c) relating to any costs and expenses

incurred in connection with the preservation, protection, or enhancement of, or realization by the

Secured Parties upon, the Prepetition Collateral; (ii) entitlement for the Secured Parties to all of

the rights and benefits of Bankruptcy Code section 552(b) and the “equities of the case” exception

shall not apply; and (iii) release of the Secured Parties from any application of the equitable

doctrine of “marshalling” or any other similar doctrine with respect to any of the Prepetition

Collateral.

         20.      The provisions of this Interim Order, including the grant of claims and liens to or

for the benefit of the Secured Parties, and any actions taken pursuant to this Interim Order, shall

survive the entry of any order converting any of these chapter 11 cases to cases under chapter 7 of

the Bankruptcy Code.



                                                  24
138461432_392525-00001
19-10971-dsj         Doc 14    Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                            Pg 39 of 41



         21.      In the event that any or all of the provisions of this Interim Order are hereafter

modified, amended, or vacated by a subsequent order of the Bankruptcy Court or any other court,

no such modification, amendment, or vacatur shall affect the validity, enforceability, or priority of

any Adequate Protection Liens incurred or any Superpriority Claim granted to the Secured Parties

under this Interim Order.

         22.      To the extent not already provided for in this Interim Order, the Debtors and their

officers, employees, professionals, and agents are hereby authorized and empowered to take such

acts as are necessary or appropriate to effectuate the relief granted pursuant to this Interim Order

in accordance with the Motion.

         23.      This Interim Order shall constitute findings of fact and conclusions of law and shall

take effect immediately upon the Bankruptcy Court’s signature hereof; there shall be no stay of

execution of effectiveness of this Interim Order.

         24.      The Bankruptcy Court has and will retain jurisdiction and power to enforce this

Interim Order according to its terms.


 New York, New York
 Dated: ____________, 2019                         THE HONORABLE STUART M. BERNSTEIN
                                                   UNITED STATES BANKRUPTCY JUDGE




                                                   25
138461432_392525-00001
19-10971-dsj         Doc 14   Filed 04/02/19 Entered 04/02/19 17:06:06   Main Document
                                           Pg 40 of 41



                                          Exhibit A

                                         The Budget




138461432_392525-00001
           19-10971-dsj       Doc 14     Filed 04/02/19 Entered 04/02/19 17:06:06             Main Document
                                                      Pg 41 of 41

Sizmek, Inc.
Initial Two-Week Budget

                                                                            Week 1                Week 2
Week Ending:                                                                4/5/19                4/12/19
Beginning Cash1                                                               $ 2,933,629              $ 308,345
Operating Receipts
                                  2
 Collections on Outstanding A/R                                                 2,646,627              3,396,627
Total Operating Receipts                                                        2,646,627              3,396,627
Cash Disbursements3
 Payroll                                                                       (2,464,309)             (2,229,062)
 Ltd Payroll                                                                   (1,467,468)                    -
 Other Operating Vendors                                                         (432,633)               (837,728)
 Professional Fees                                                               (907,500)               (532,500)
Total Operating Disbursements                                                  (5,271,910)             (3,599,290)
Net Change in Cash                                                             (2,625,284)              (202,664)
Ending Cash                                                                     $ 308,345              $ 105,682

Notes:
1. Estimated beginning cash held by or on behalf of the Debtors including restricted amounts
2. Based on estimated Accounts Receivable on the petition date; add'l $21m in March billings pending
3. Includes prepetition wages, post-petition operating and professional fees
